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                                No. 21-2683

                 UNITED STATES COURT OF APPEALS
                    FOR THE SEVENTH CIRCUIT



                             JANAY E. GARRICK,
                                                 Plaintiff-Appellee,
                                     v.
                          MOODY BIBLE INSTITUTE,
                                               Defendant-Appellant.


           On Appeal from the United States District Court for the
                 Northern District of Illinois, Eastern Division
    Case No. 1:18-cv-00573 – Judge John Lee, Magistrate Judge Young Kim


                         BRIEF OF AMICI CURIAE
                THE AMERICAN CIVIL LIBERTIES UNION AND
             THE AMERICAN CIVIL LIBERTIES UNION OF ILLINOIS
           IN SUPPORT OF PLAINTIFF-APPELLEE AND AFFIRMATION



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      Garrick v. Moody Bible Inst.




American Civil Liberties Union; American Civil Liberties Union of Illinois




American Civil Liberties Union Foundation; American Civil Liberties Union Foundation of Illinois




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American Civil Liberties Union; American Civil Liberties Union of Illinois




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            21-2683

      Garrick v. Moody Bible Inst.




American Civil Liberties Union; American Civil Liberties Union of Illinois




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      Garrick v. Moody Bible Inst.




American Civil Liberties Union; American Civil Liberties Union of Illinois




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                          INTEREST OF AMICI CURIAE 1


      The American Civil Liberties Union (“ACLU”) is a nationwide, nonprofit,

nonpartisan organization with approximately two million members dedicated to

defending the principles of liberty and equality embodied in the Constitution. The

ACLU of Illinois is one of the ACLU’s statewide affiliates with approximately

50,000 members. As organizations that advocate for religious liberty as well as

equal rights for women, the ACLU, the ACLU of Illinois, and their members have a

strong interest in the application of proper standards when evaluating

constitutional challenges to civil rights laws.


      Amicus ACLU has filed amicus briefs or served as counsel in numerous cases

at the intersection of competing claims of religious liberty and sex discrimination in

employment. See, e.g., Fitzgerald v. Roncalli High Sch., Inc., 73 F.4th 529 (7th Cir.

2023) (amicus); CompassCare v. Hochul, No. 22-951 (2d Cir. filed Apr. 29, 2022)

(amicus); Billard v. Charlotte Cath. High Sch., No. 3:17-cv-00011, 2021 WL

4037431, at *8 (W.D.N.C. Sept. 3, 2021), appeal filed, No. 22-1440 (4th Cir. Apr. 25,

2022) (counsel). Amicus ACLU of Illinois has been involved in important cases in

recent years in Illinois involving the civil rights and liberties of women. See, e.g.,

Legal Aid Chicago v. Hunter Properties Inc., No. 1:23-CV-04809 (N.D. Ill. filed July

25, 2023) (counsel); Stachler v. Bd of Educ. of the City of Chicago, 2021-L-010663


1 This brief has not been authored, in whole or in part, by counsel to any party in

this appeal. No person, other than the amici, their members, or their counsel,
contributed money that was intended to fund preparation or submission of this
brief. All parties have consented to the filing of this brief.
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(Ill. Cir. Ct., Cook Cnty. 2021), appeal docketed, No. 1-22-1092 (Ill. App. Ct. Sept.

22, 2022) (amicus); People v. Wells, No. 127169 (Ill. argued Nov. 16, 2022) (amicus);

People v. Bowers, 194 N.E.3d 498 (Ill. App. Ct. 2021) (amicus); Hobby Lobby Stores,

Inc v. Sommerville, 186 N.E.3d 67 (Ill. App. Ct. 2021) (amicus); Panattoni v. Vill. of

Frankfort, No. 1:17-CV-06710 (N.D. Ill. dismissed Oct. 8, 2020) (counsel); Spriesch

v. City of Chicago, No. 17 C 1952, 2017 WL 4864913 (N.D. Ill. Oct. 26, 2017)

(counsel).


                                   BACKGROUND


      Moody Bible Institute (“Moody”), a religious college, hired Janay Garrick

(“Garrick”) to teach in its Communications Program. A.092 ¶ 5. Garrick alleges she

suffered rampant gender discrimination and harassment from the school

administration and her colleagues, including being denied benefits of employment

granted to her male counterparts and enduring open disrespect and vitriol from her

male peers. A.094 ¶ 26, A.096 ¶ 30, A.097-98 ¶ 35. When Garrick complained,

Moody fired her. A.109 ¶ 85, A.112 ¶ 96. Garrick alleges that she was fired because

she is a woman who complained about gender discrimination. A.110 ¶ 89, A.112 ¶¶

96-97. Garrick brought claims for sex-based disparate treatment, retaliation, and

hostile work environment in violation of Title VII of the Civil Rights Act, among

other claims. A.112 ¶ 98 – A.117 ¶ 132.


      Moody moved to dismiss Garrick’s Second Amended Complaint, arguing that

Garrick’s claims are barred by principles of religious autonomy, Title VII’s religious


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exemption, and statute of limitations. Dkt. 103. The district court granted Moody’s

motion to dismiss as to Garrick’s hostile work environment claim and denied the

motion as to disparate treatment and retaliation based on sex. Dkt. 126. Of

relevance here, the court held that Title VII’s statutory exemption for religious

employers “with respect to employment of individuals of a particular religion” did

not bar Garrick’s sex discrimination claim. Dkt. 126.


      When Moody moved to reconsider, the court again refused to dismiss the sex

discrimination claims and denied Moody’s request to certify an interlocutory appeal.

Dkt. 134. Moody filed a Notice of Appeal, claiming jurisdiction under the collateral

order doctrine. Dkt. 142.


                            SUMMARY OF ARGUMENT


      Amici agree with Garrick that the Court does not have appellate jurisdiction

over this case in general, nor over Moody’s defense based on Section 702 in

particular. If, however, the Court does find a jurisdictional basis to consider Section

702, amici urge the Court to reject Moody’s broad interpretation of that provision,

which is inconsistent with its text and history, and which contradicts all circuit

court precedents on the issue.


      The district court correctly ruled Garrick’s sex discrimination claims could

move forward because the Section 702 exemption applies only to claims for religious

discrimination. On its face, Section 702 applies only “with respect to the

employment of individuals of . . . a particular religion,” 42 U.S.C. § 2000e-1(a),

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which echoes Title VII’s underlying prohibition on discrimination “with respect to . .

. employment because of [an] individual’s . . . religion.” 42 U.S.C. § 2000e-2(a)(1).

Because Section 702 does not provide for a similar exemption with respect to

employment of individuals of a particular race, color, sex, or national origin, it does

not bar plaintiffs from bringing claims for “discrimination with respect to . . .

employment because of such individual’s race, color, sex, or national origin.” 42

U.S.C. § 2000e-2(a)(1).


      When Congress has wanted to protect religious organizations more broadly

for all employment decisions based on the organization’s religious tenets, it has

done so in other statutes. But Congress repeatedly rejected amendments that would

have provided such an exemption in Title VII. It is no surprise, therefore, that every

circuit court to consider the question has held that Section 702 does not allow

religious organizations to discriminate against employees based on sex, even when

employers argued that the sex discrimination was grounded in religious beliefs.


      This Court should reject Moody’s invitation to depart from the plain text of

Title VII and provide religious organizations an unfettered right to discriminate

against their entire secular workforce based on any protected characteristic

whenever they have a religious reason for doing so. If the Court rules on Section 702

at all, it should affirm the district court’s order and remand for long-delayed

proceedings in this case.




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                                          ARGUMENT


   I.      Title VII’s Exemptions Do Not Provide a Defense for Policies or
           Practices That Discriminate Based on Race, Color, Sex, or
           National Origin.
                  A. Section 702 of Title VII exempts religious organizations
                  from religious discrimination claims only.

        The district court correctly found that Title VII’s exemption for religious

organizations is limited to claims of religious discrimination. Dkt. 126. Title VII

prohibits discrimination “against any individual with respect to. . . employment,

because of such individual’s race, color, religion, sex, or national origin.” 42 U.S.C. §

2000e-2(a)(1). Against the backdrop of that general prohibition, Section 702 carves

out a limited exception providing that “[t]his subchapter shall not apply to . . . a

religious organization . . .with respect to the employment of individuals of a

particular religion.” 42 U.S.C. § 2000e-1(a). The plain language of Section 702

“exempts religious organizations from Title VII’s prohibition against discrimination

in employment on the basis of religion.” Corp. of Presiding Bishop of Church of

Jesus Christ of Latter-day Saints v. Amos, 483 U.S. 327, 329 (1987). It does not

provide an exemption with respect to employment of individuals of a particular

race, color, sex, or national origin. 2




2 Section 703(e) of Title VII provides a similar exemption for an educational

institution that is “owned, supported, controlled, or managed” by a religious
organization or “if the curriculum of such school. . . is directed toward the
propagation of a particular religion.” 42 U.S.C. § 2000e-2(e). As Moody concedes,
both sections effectually do the same thing. See Moody’s Br. 38; see also Billard v.

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      Every circuit to consider the question agrees: The exemption permits

religious institutions to employ members of their own religion “without fear of being

charged with religious discrimination. Title VII still applies, however, to a religious

institution charged with sex discrimination.” Boyd v. Harding Acad. of Memphis,

Inc., 88 F.3d 410, 413 (6th Cir. 1996) accord Kennedy v. St. Joseph’s Ministries, Inc.,

657 F.3d 189, 192 (4th Cir. 2011); DeMarco v. Holy Cross High Sch., 4 F.3d 166, 173

(2d Cir. 1993); EEOC v. Pac. Press Publ’g Ass’n, 676 F.2d 1272, 1276 (9th Cir. 1982);

McClure v. Salvation Army, 460 F.2d 553, 558 (5th Cir. 1972).


      Courts also agree that Title VII prohibits religious organizations from

engaging in sex discrimination even when that discrimination is motivated by

religious beliefs. Herx v. Diocese of Fort Wayne-S. Bend Inc., 48 F. Supp. 3d 1168,

1175-76 (N.D. Ind. 2014) (collecting cases), appeal dismissed, 772 F.3d 1085 (7th

Cir. 2014); Billard 2021 WL 4037431, at *8. For example, in Herx, the district court

found that Section 702 did not insulate a religious school’s decision to not renew a

teacher’s contract after learning that she was undergoing in vitro fertilization in an

effort to become pregnant, because – though the school’s decision was based in its

religious beliefs – the teacher’s “Title VII claim alleges sex discrimination, not

religious discrimination.” Herx, 48 F. Supp. 3d at 1176. Similarly, in Pacific Press, a

publishing house affiliated with the Seventh-day Adventist church could not fire an




Charlotte Cath. High Sch., No. 3:17-cv-00011, 2021 WL 4037431, at *8 (W.D.N.C.
Sept. 3, 2021), appeal filed, No. 22-1440 (4th Cir. Apr. 25, 2022).


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employee for filing a charge of sex discrimination with the EEOC even though the

employee had violated church doctrine that prohibited lawsuits by members against

the church. See Pac. Press, 676 F.2d at 1276-77, 1280. In EEOC v. Fremont

Christian School, a religious school could not enforce the religious belief that men

should be the head of the household by paying health benefits to married men but

not to married women. See 781 F.2d 1362, 1365-67 (9th Cir. 1986). And in Cline v.

Catholic Diocese of Toledo, a religious employer could not enforce a religious

prohibition on sexual activity outside marriage in a facially discriminatory manner

by using “the mere observation or knowledge of pregnancy as its sole method of

detecting violations of its premarital sex policy.” 206 F.3d 651, 667 (6th Cir. 2000).

Indeed, no circuit has ever held that Section 702 allows employers to discriminate

based on sex. See Bostock v. Clayton Cnty. Ga., 140 S. Ct. 1731,1781, n.55 (2020)

(Alito, J., dissenting) (surveying existing circuit precedent interpreting Section 702

to provide “only narrow protection”). 3


      These settled principles are consistent with Title VII’s legislative history and

purpose. See Herx, 48 F. Supp. 3d at 1175 (citing Rayburn v. Gen. Conf. of Seventh-

day Adventists, 772 F.2d 1164, 1167 (4th Cir. 1985)). Congress repeatedly rejected

proposals to expand the exemptions beyond claims for religious discrimination. The



3 Moody argues that Bostock’s discussion of religious liberty doctrines implies that

Section 702 is applicable in sex discrimination cases. Moody’s Br. 43 (citing Bostock
v. Clayton Cnty., Ga, 140 S. Ct. 1731). Bostock, however, did not address whether
Section 702 could bar claims of sex discrimination – the majority mentions Section
702 only in recounting the ways Congress and the courts have struck a balance
between employment protections and religious liberties. Id. at 1754.
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original 1964 bill passed by the House of Representatives would have provided a

complete exemption for religious organizations, but the Senate replaced it with a

narrower exemption limited to the employment of individuals of a particular

religion. See EEOC, Legislative History of Title VII and IX of Civil Rights Act of

1964 at 1004, 3004, 3017 (1968) (“1964 Legis. Hist.”). In 1972, Congress expanded

Section 702 to cover all of a religious organization’s activities (not merely its

religious ones) but rejected an amendment that would have covered all types of

discrimination (not merely discrimination based on religion). See EEOC v. Pac.

Press Publ’g Ass’n, 482 F. Supp. 1291, 1304 (N.D. Cal. 1979), aff’d, 676 F.2d 1272

(9th Cir. 1982) (collecting legislative history).


       Employers cannot convert a claim of sex discrimination under Title VII to a

case of religious discrimination by suggesting there was a religious reason behind

the employment decision. The employer’s motivation may be to enforce its religious

teachings, “[b]ut [if] to achieve that purpose the employer must, along the way,

intentionally treat an employee worse based in part on that individual’s sex”, then

there is a clear violation of Title VII. Bostock, 140 S. Ct. at 1742. And Section 702’s

exemption for religious organizations covers only discrimination against individuals

of a particular religion, not discrimination based on an individual’s sex.


                 B. Moody’s broad interpretation of Section 702 contradicts
                 its text, history, and prior precedents.

       In the face of decades of settled precedent, Moody, relying on two single-judge

concurrences, concludes that Section 702 allows religious organizations to engage in


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race, color, sex, and national origin discrimination as long as the discrimination is

grounded in their religious beliefs. Moody’s Br. 37-45. This Court should reject such

a broad interpretation of Section 702 – an interpretation that is inaccurate in its

textual analysis, statutory construction, and evaluation of precedent.


                 1. Section 702’s text


      The text of Section 702 supports Garrick—not Moody. Moody emphasizes

that Section 702 does not use the term “religious discrimination,” but Title VII’s

underlying prohibitions do not use the term “religious discrimination” either.

Rather, Title VII prohibits discrimination “because of [an] individual’s race, color,

religion, sex, or national origin.” 42 U.S.C. § 2000e-2(a)(1). Section 702 tracks that

phrasing by carving out an exception “with respect to the employment of individuals

of a particular religion.” 42 U.S.C. § 2000e-1(a). Both provisions focus on the

attributes of the “individual,” not the motivations of the employer.


      Thus, the definition of “religion” in 42 U.S.C. § 2000e(j) upon which Moody

relies simply indicates that protections from religious discrimination include the

right to reasonable accommodations for an individual employee’s religious practice.

It does not provide religious organizations with new rights to use their own

religious beliefs to discriminate based on an employee’s race, color, sex, or national

origin. After all, the relevant religion referred to in Section 702 is the religion of the

“individual,” not the religion of the employer.




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       Although Moody claims the plain text of Section 702 supports its

interpretation, Moody repeatedly abbreviates the text to suit its purposes. Moody,

citing the concurrences in Starkey v. Roman Catholic Archdiocese of Indianapolis,

Inc. and Fitzgerald v. Roncalli High Sch, Inc., first asserts that Section 702 applies

to all discrimination claims—not just claims for religious discrimination—because

Section 702 says “this subchapter shall not apply” and the subchapter “comprises all

of Title VII.” Moody’s Br. 38 citing Starkey v. Roman Catholic Archdiocese of

Indianapolis, Inc., 41 F.4th 931, 945-47 (7th Cir. 2022) (Easterbrook, J.,

concurring); Fitzgerald v. Roncalli High Sch, Inc., 73 F. 4th 529, 534 (7th Cir. 2023)

(Brennan, J., concurring). But that argument does not account for the rest of the

sentence, which exempts religious organizations only “with respect to the

employment of individuals of a particular religion to perform work connected with

the carrying on by such corporation, association, educational institution, or society

of its activities.” 42 U.S.C. § 2000e-1(a). Thus, Title VII does not apply to religious

organizations with respect to discrimination “because of [an] individual’s . . .

religion,” but does apply with respect to discrimination “because of such individual’s

race, color, . . . sex, or national origin.” 42 U.S.C. § 2000e-2(a)(1).


       Moody also asserts that Section 702 provides an exemption for religiously

motivated sex discrimination because Title VII defines “religion” to include “belief,”

“observance,” or “practice.” Moody’s Br. 39 (quoting 42 U.S.C. § 2000e(j)). But again,

it quotes just a fragment of the definition. The full definition states that “[t]he term

‘religion’ includes all aspects of religious observance and practice, as well as belief,

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unless an employer demonstrates that he is unable to reasonably accommodate to

an employee’s or prospective employee’s religious observance or practice without

undue hardship on the conduct of the employer’s business.” 42 U.S.C. § 2000e(j).

“The intent and effect of this definition was to make it an unlawful employment

practice . . . for an employer not to make reasonable accommodations, short of

undue hardship, for the religious practices of his employees and prospective

employees[]”, Trans World Airlines, Inc. v. Hardison, 432 U.S. 63, 74 (1977), - not to

expand the scope of religion-based discrimination to subsume discrimination

against all protected categories when motivated by religion.


                 2. Section 702’s comparison to other discrimination laws
                 and its legislative history

       Unable to find textual support for its interpretation of Section 702’s religious

exemption, Moody attempts to draw analogies to other statutory provisions that it

contends have been interpreted to provide more comprehensive exemptions.

Moody’s Br. 40-41. But Moody’s analogies fall flat because Moody misunderstands

the statutes it cites.


       Moody first argues that Section 702’s religious exemption “must be read

equally broadly” as Section 702’s “alien exemption.” 4 See Moody’s Br. 40. But there



4 Moody misunderstands what the “alien exemption” actually does. Noncitizens

outside the United States are excluded from the scope of Title VII because they are
not encompassed in Title VII’s definition of “employee” in 42 U.S.C. § 2000e(f)—not
because of Section 702. That is because the Supreme Court held in EEOC v.
Arabian American Oil Co., 499 U.S. 244 (1991), that Title VII did not apply to the
employment of anyone outside the United States, rendering the “alien exemption”

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are crucial textual differences between the “alien exemption” and the limited

exemption for religious organizations. The original version of Section 702 passed by

the House provided a categorical exemption for employment of aliens abroad and for

religious organizations; it provided that “[t]his title shall not apply to an employer

with respect to the employment of aliens outside any State, or to a religious

corporation, association, or society.” See 1964 Legis. Hist. at 3050 (reprinting

annotated text of House bill showing Senate changes). The Senate then added new

language limiting the exemption for religious organizations to an exemption “with

respect to the employment of individuals of a particular religion.” Id. The ‘alien

exemption’ does not contain similar phrasing about an “individual’s” characteristics

and cannot provide any guidance on how the phrase “individuals of a particular

religion” should be interpreted. 42 U.S.C. § 2000e-1(a). When Congress adds text to

limit the scope of one exemption and not the other, there is no basis for courts to

interpret the two as “carry[ing] analogous meanings” as Moody contends. Moody’s

Br. 40.


      Moody also attempts to analogize Section 702 to two provisions in the

Americans with Disabilities Act (“ADA”), but those analogies are even less

convincing. Moody’s Br. 41. The first ADA provision states that “[t]his subchapter

shall not prohibit a religious [organization] . . . from giving preference in



functionally irrelevant. Congress responded by amending the definition of
“employee” to provide that “[w]ith respect to employment in a foreign country, such
term includes an individual who is a citizen of the United States.” 42 U.S.C. §
2000e(f).
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employment to individuals of a particular religion.” 42 U.S.C. § 12113(d)(1). That

provision does not allow religious organizations to discriminate based on a person’s

disability (whether for religious reasons or otherwise). It merely provides

reassurances that religious organizations are not prohibited “from giving preference

in employment to individuals of a particular religion” over a qualified person with a

disability. 42 U.S.C. § 12113(d)(1) (emphasis added). “Thus, assume that a Mormon

organization wishes to hire only Mormons to perform certain jobs. If a person with a

disability applies for the job, but is not a Mormon, the organization can refuse to

hire him or her.” H.R. Rep. 101-485 (II), 76, (1990) as reprinted in 1990

U.S.C.C.A.N. 303, 359.


      The second ADA provision further undermines Moody’s attempted analogy.

That provision states that religious organizations “may require that all applicants

and employees conform to the religious tenets of such organization.” 42 U.S.C. §

12113(d)(2). That language was deliberately drawn from the religious exemption in

Title IX, which is more sweeping than the Title VII language. The House Report

notes that the “religious tenets” provision contains language “not included in title

VII,” and specifically instructs that “[t]he inclusion of a ‘religious tenets’ defense [in

the ADA] is not intended to affect in any way the scope given to section 702 of title

VII.” H.R. Rep. 101-485 (II), 77, (1990) as reprinted in 1990 U.S.C.C.A.N. 303, 359.

Since Congress drafted the ADA’s religious exemption on the express understanding

that it was broader than the Title VII exemption, it makes no sense to retrofit

Section 702 to the language in the ADA.

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      Importantly, Moody fails to identify any text in Section 702 referring to the

employer’s religious motivations. In other antidiscrimination statutes, Congress has

provided religious organizations exemptions based on the organization’s “religious

tenets.” See 20 U.S.C. § 1681(a)(3) (Title IX); 42 U.S.C. § 12113(d)(2) (ADA). But

Congress did not include the same language in Title VII. Cf. Ysleta Del Sur Pueblo

v. Texas, 142 S. Ct. 1929, 1941 n.2 (2022) (“[R]ather than compare the [statute] to

hypothetical language Congress could have used, it seems more appropriate to

compare [its] terms to language Congress did use in closely related statutes[.]”).


                3. Section 702’s interpretation


      No circuit court has ever held that Section 702 allows employers to engage in

religiously motivated discrimination based on race, color, sex, or national origin. See

Boyd, 88 F.3d at 413; Kennedy, 657 F.3d at 192; DeMarco, 4 F.3d at 173; Pac. Press

Publ’g Ass’n, 676 F.2d at 1276. Instead, Moody relies on non-controlling cases that

do not address that question, much less resolve it. Moody’s Br. 42-43 citing Curay-

Cramer v. Ursuline Acad. of Wilmington, Del., Inc., 450 F.3d 130 (3d Cir. 2006),

EEOC v. Miss. Coll., 626 F.2d 477 (5th Cir. 1980), and Maguire v. Marquette Univ.,

627 F.Supp. 1499, 1502-04 (E.D. Wis. 1986).


      In Curay-Cramer a school fired a teacher for including her name on a political

advertisement supporting Roe v. Wade. See 450 F.3d at 132. Although firing

teachers for engaging in pro-choice advocacy is not sex discrimination in and of

itself, the employee alleged that the school engaged in sex discrimination by


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punishing women more harshly for publicly supporting abortion than it would have

punished men who opposed religious teachings on different issues (such as the Iraq

war). See id. at 139. The Third Circuit rejected that argument because the

plaintiff’s theory required the court to balance the relative importance of different

religious doctrines, which would force the court to answer an ecclesiastical question

in violation of constitutional principles of church autonomy. Id. at 141.


      Curay-Cramer did not, however, adopt the expansive reading of Section 702

that Moody advocates here, which would provide a blanket exemption whenever

employment discrimination is motivated by religious belief regardless of whether

the claim could be addressed without answering ecclesiastical questions. To the

contrary, Curay-Cramer emphasized, “under most circumstances, Title VII's

substantive provisions, with the exception of the prohibition against religious

discrimination, apply to religious employers.” Id. at 140 (emphasis added). As the

court noted, this reading accords with the statute’s legislative history. Id. Moreover,

a claim of sex discrimination need not be dismissed merely because the plaintiff

seeks to show that an employer’s proffered religious reason for its action was

pretextual. Id. at 142. Rather, the court dismissed the case only because it would

require courts to “compare the relative severity of violations of religious doctrines.”




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The court therefore “caution[ed] religious employers against over-reading the

impact of our holding,” id., which is exactly what Moody does here. 5


      Likewise, in Mississippi College—an EEOC action to enforce a subpoena it

issued to a religious school—the Fifth Circuit did not deviate from its prior holding

that Section 702 allowed religious organizations to discriminate on the basis of

religion but not on the basis of any other protected characteristic. 626 F.2d at 484.

The court held that if a religious institution “presents convincing evidence” that the

challenged employment practice is based on religion—and not based on race, color,

sex, religion, or national origin—then the EEOC should not investigate further. Id.

at 485. But the court indicated that policies “clearly predicated on religious belief. . .

might not be protected by Section 702” if they also discriminate based on sex, such

as “the College’s policy of hiring only men to teach courses in religion.” Id. at 487.

Here, Garrick has alleged claims of sex discrimination, and the court has not yet

received any evidence regarding Moody’s actual reasons for terminating her

employment.


      Moody’s reliance on Maguire v. Marquette Univ., 627 F. Supp. 1499 (E.D.

Wis. 1986), is similarly inapposite. Moody’s Br. 43. In that case, the district court

held that Section 702 precluded the plaintiff’s sex discrimination case against a


5 Moody’s invocation of the EEOC’s 2021 guidance fails for the same reasons. See

Moody’s Br. 43. Like Curay-Cramer, that guidance merely acknowledges that
principles of church autonomy might prevent a plaintiff from probing a facially
neutral policy to establish pretext. The guidance does not purport to overturn the
EEOC’s longstanding position that Section 702 does not allow religious employers to
engage in race, color, sex, or national-origin discrimination for religious reasons.
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Catholic university that refused to hire her as a theology professor because of her

views about abortion. On appeal, however, this Court expressly declined to adopt

the district court’s (or any) interpretation of Section 702 because the alleged conduct

was not discrimination based on sex. That is, the problem was not that plaintiff was

a woman, but her beliefs about abortion, beliefs that would also disqualify a man.

See Maguire v. Marquette Univ., 814 F.2d 1213, 1217-18 (7th Cir. 1987).


      Moody dismisses the court’s opinion as decided on “other grounds,” Moody’s

Br. at 43, but the district court’s misunderstanding of the nature of the claim was

key to its interpretation of Section 702. The court perceived that significant First

Amendment problems would arise from attempting to hold a religious university

liable for insisting that its theology faculty conform to certain beliefs, and it

interpreted the provision accordingly (and much more narrowly than Moody does).

Specifically, Section 702 “should be read to allow the hiring committee of a theology

department in a college controlled by a religious society broad latitude when it

makes a decision to hire ‘employees of a particular religion.’” Maguire, 627 F. Supp.

at 1506. These complications do not necessarily arise when a plaintiff actually

alleges that she was treated differently because of her sex. Again, Moody will have

an opportunity to show that each of the alleged acts of discrimination were about

belief rather than sex, or that adjudicating the case will require undue inquiry

about its religious beliefs. These are both factual questions that the Court should

not attempt to resolve in the absence of a factual record.




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       Moody also cites Little v. Wuerl, 929 F.2d 944 (3d Cir. 1991) for the

proposition that Section 702 authorizes Moody to “employ only persons whose

beliefs and conduct are consistent with [its] religious precepts.” Moody’s Br. 40

(citing Little, 929 F.2d at 951). But Little, a case involving claims for religious

discrimination and not sex discrimination, affirmed that Section 702 allows

religious employers to enforce their religious beliefs without being sued by

employees for religious discrimination. Little, 929 F.2d at 951 (emphasis added).

Little did not grant free-standing authority to use religious beliefs to discriminate

based on race, color, sex, or national origin.


       Moody then suggests that Kennedy v. St. Joseph's Ministries, Inc., 657 F.3d

189 (4th Cir. 2011) and Garcia v. Salvation Army, 918 F.3d 997 (9th Cir. 2019)

support its position to expand the religious exemption to bar claims of sex

discrimination. Moody’s Br. 45. Both, however, are straightforward cases of

religious discrimination, not sex—without any allegations of discrimination based

on race, color, sex, or national origin. 6




6 In Kennedy, the Fourth Circuit rejected the plaintiff’s argument that Section 702’s

exemption for “employment of individuals of a particular religion” referred only to
hiring and firing and did not bar his claims for religious harassment and
retaliation. See 657 F.3d at 192-94. The Kennedy court interpreted “employment” to
include all forms of religious discrimination, but explicitly reaffirmed that Section
702 “does not exempt religious organizations from Title VII’s provisions barring
discrimination on the basis of [an individual’s] race, gender, or national origin.” Id.
at 192.


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      Moody is ultimately able to cite only a single, out-of-circuit, district court

decision that actually adopts its interpretation of Section 702. See Moody’s Br. 43

(citing Bear Creek Bible Church v. EEOC, 571 F. Supp. 3d 571, 591 (N.D. Tex.

2021)). As explained above, this view of Section 702 contradicts the great weight of

authority and was not endorsed by the Fifth Circuit on appeal. See Braidwood

Mgmt., Inc. v. EEOC, 70 F.4th 914, 936 (5th Cir. 2023) (noting that “[n]o party

appeals this ruling on the merits, so we pretermit discussion of it.” (footnote

omitted)).


      The text, structure, and history of Section 702 all confirm that the statute

does not authorize organizations to use religious beliefs to discriminate against

their entire secular workforce based on race, color, sex, or national origin.


             II.   Adopting Moody’s Interpretation of Section 702 Would
             Gut Employment Protections.

      Title VII’s purpose of remedying employing discrimination and improving

economic and social conditions of women and people of color in the workplace is

furthered by broad employment protections with only limited exceptions. Adopting



The Ninth Circuit similarly held that Section 702 precluded claims of religious
retaliation and harassment, Garcia, 918 F.3d at 1004, and rejected the plaintiff’s
attempt to avoid Section 702 by arguing that she had no cause of action labeled as
“religious discrimination.” Id. at 1005. The court held that Section 702 covered her
claims of religious harassment and retaliation regardless of the title of the counts.
Because only religious harassment and retaliation claims were alleged, the court
did not rule on Section 702’s application to claims based on sex or other protected
characteristics as Moody implies. Id. at 1101.



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Moody’s interpretations of Section 702 would give religious organizations a wide

license to discriminate against their employees. This could have an enormous

impact. Religious organizations employ nearly 1.7 million people in the United

States 7 and include churches, schools, hospitals, financial services, broadcasting,

and endowments, in addition to the “countless coaches, camp counselors, . . . social-

service workers, in-house lawyers, media-relations personnel, and many others.”

Our Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049, 2082 (2020)

(Sotomayor, J., dissenting). Seventy-eight percent of private schools in the United

States were religiously affiliated in 2014 8, and 14.5 percent of hospitals were

religiously affiliated in 2016. 9 Most staff at these institutions work in non-religious

roles. For example, the National Catholic Educational Association reports that 97.4

percent of professional staff at Catholic schools are laity and only 2.6 percent are

religious staff or clergy. 10



7 IBIS World, Religious Organizations in the US - Employment Statistics 2004–

2029, https://www.ibisworld.com/industry-statistics/employment/religious-
organizations-united-states/ (last visited Sept. 5, 2023).
8 Council for American Private Education, Private School Statistics at a Glance,

https://capenetwork.org/private-school-statistics-at-a-glance/ (last visited Sept. 5,
2023).
9 MergerWatch, Growth of Catholic Hospitals and Health Systems: 2016 Update of

the Miscarriage of Medicine Report,
http://static1.1.sqspcdn.com/static/f/816571/27061007/1465224862580/MW_Update-
2016-MiscarrOfMedicine-report.pdf?token=BQ0NpBtNtozUjG34D7zm6R5p8lw%3D
(last visited Sept. 5, 2023).

10 National Catholic Educational Association, Enrollment and Staffing,

https://www.ncea.org/NCEA/Who_We_Are/About_Catholic_Schools/Catholic_School

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      Moody’s proposed interpretations would gut Title VII protections for these 1.7

million employees. To take two examples, a religious organization would be free to

pay women less or refuse to hire people of color, as long as the employer alleges a

religious motivation. These are precisely the types of employment decisions that our

nation’s anti-discrimination laws seek to prevent. Accepting Moody’s radical

analysis would improperly limit our civil rights protections far beyond anything

Title VII requires.


                                  CONCLUSION

      For the foregoing reasons, this Court should affirm the district court’s

judgment.


Dated: September 8, 2023            Respectfully submitted,

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a2e20ac11cfd (last visited Sept. 5, 2023).
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Dated: September 8, 2023                /s/ Aditi Fruitwala

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